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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 JASON SPURGEON                                      §
                                                     §
                    Plaintiff,                       §
 v.                                                  §     CA No.: 4:17-cv-01054
                                                     §
 J.B. POINDEXTER & CO., INC.                         §     Jury Demanded
                                                     §
                   Defendant                         §

                             PLAINTIFF’S ORIGINAL COMPLAINT

         Jason Spurgeon (“Plaintiff”) brings this Fair Labor Standards Act (“FLSA”) suit against the

above-named Defendant and shows as follows:

1. Nature of Suit.

      1.1. The FLSA was passed by Congress in 1938 in an attempt to eliminate low wages and long

          hours and to correct conditions that were detrimental to the health and well-being of

          workers. To achieve its humanitarian goals, the FLSA “limits to 40 a week the number of

          hours that an employer may employ any of his employees subject to the Act, unless the

          employee receives compensation for his employment in excess of 40 hours at a rate not less

          than one and one-half times the regular rate at which he is employed.” Walling v. Helmerich

          & Payne, 323 U.S. 37, 40 (1944) (discussing the requirements of 29 U.S.C. § 207 (a)).

      1.2. Defendant failed to pay Plaintiff in accordance with the Fair Labor Standards Act.

          Specifically, Plaintiff was misclassified as an exempt employee, and as a result, Defendant

          failed to pay Plaintiff at time and one half his regular rate of pay for hours worked in a

          workweek in excess of 40.


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2. Parties.

   2.1. Plaintiff is a resident of Texas and this District. Plaintiff is an individual who was employed

       by Defendant within the meaning of the FLSA within the two-year period preceding the

       filing of this Complaint. Plaintiff's written consent to become a party plaintiff is attached

       as Exhibit "A."

   2.2. Defendant is a foreign corporation, registered to do business under the laws of Texas,

       whose office address is 1100 Louisiana, Suite 5400, Houston, TX 77002. Defendant may be

       served by serving its registered agent, Corporation Service Company d/b/a CSC-Lawyers

       Incorporating Service Company, 600 Travis, Suite 200, Houston, TX 77002.

3. Jurisdiction and Venue.

   3.1. Venue of this action is proper in this District and division because Defendant is a resident

       of the State of Texas and has sufficient contact in this District to subject it to personal

       jurisdiction. Venue exists in the judicial district pursuant to 28 U.S.C. § 1391.

   3.2. This Court has jurisdiction over this case pursuant to the district court’s federal

       question jurisdiction as set forth in 28 U.S.C. § 1331. Specifically, this case is brought

       pursuant to the FLSA, 29 U.S.C. § 201 et seq., as amended.

4. Coverage.

   4.1. At all material times, Defendant has acted, directly or indirectly, in the interest of an

       employer with respect to Plaintiff.

   4.2. At all times hereinafter mentioned, Defendant has been an employer within the meaning of

       the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).



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   4.3. At all times hereinafter mentioned, Defendant has been an enterprise within the meaning

       of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

   4.4. At all times hereinafter mentioned, Defendant has been an enterprise engaged in

       commerce or in the production of goods for commerce within the meaning of Section

       3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had employees

       engaged in commerce or in the production of goods for commerce, or employees

       handling, selling, or otherwise working on goods or materials that have been moved in or

       produced for commerce by any person and in that said enterprise has had and has an

       annual gross volume of sales made or business done of not less than $500,000 (exclusive of

       excise taxes at the retail level which are separately stated). Plaintiff worked with and on

       equipment that traveled in interstate commerce, namely computer and computer-related

       equipment. Plaintiff used the interstate telecommunications systems to perform his duties.

   4.5. At all times hereinafter mentioned, Plaintiff was an individual employee who was engaged

       in commerce or in the production of goods for commerce as required by 29 U.S.C. §§ 206 -

       207.

5. Factual Allegations

   5.1. Plaintiff worked for Defendant at its Houston, Texas location as a member of the

       Defendant’s information technology support staff. Plaintiff was a help desk technician.

   5.2. Plaintiff was employed by Defendant from approximately July 6, 2015 through February 2,

       2017.

   5.3. During the time period, Plaintiff’s job responsibilities consisted of addressing, as directed

       by Defendant, the maintenance desktop computers.

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   5.4. Plaintiff’s primary job duties consisted of IT desktop support as well as help desk support.

       Plaintiff was also responsible for various other non-discretionary tasks. These other non-

       discretionary tasks Plaintiff performs are routine and do not require the exercise of

       independent judgment or discretion.

   5.5. IT desktop support and help desk support employees must be paid overtime. See,

       Department of Labor opinion letter FLSA 2006-42 attached as Exhibit B.

   5.6. At all times during his employment, Plaintiff was treated as an exempt employee for

       purposes of the FLSA, was paid a salary for his work, and was not paid time and one-half

       his regular rate of pay for hours worked in excess of 40 hours in a work week.

   5.7. Plaintiff was scheduled to work at least 45 hours a week and did so in each week he was

       employed by Defendant. Plaintiff’s normal work schedule was 7:30 am to 5:30 pm with an

       hour off for lunch, five days a week.

   5.8. Defendant knowingly, willfully, or with reckless disregard carried out its illegal pattern or

       practice of failing to pay overtime compensation with respect to Plaintiff.

   5.9. The FLSA requires employers to keep accurate time records of hours worked by

       nonexempt employees. 29 U.S.C. § 211 (c).

   5.10.       Plaintiff has retained the Law Office of Chris R. Miltenberger, PLLC to represent

       him in this litigation and has agreed to pay a reasonable fee of its services.


6. Cause of Action: Failure to Pay Wages in Accordance with the Fair Labor Standards
   Act.

   6.1. Each and every allegation contained in the foregoing paragraphs is re-alleged as if fully

       rewritten herein.

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   6.2. During the relevant period, Defendant violated the FLSA by employing Plaintiff in an

       enterprise engaged in commerce or in the production of goods for commerce within the

       meaning of the FLSA as aforesaid, for workweeks longer than 40 hours without

       compensating Plaintiff for his work in excess of forty hours per week at rates no less than

       one-and-a- half times the regular rates for which he was employed.

   6.3. Defendant did not act in good faith and/or have reasonable grounds for a belief that its

       actions did not violate the FLSA nor did it act in good faith or reliance upon any of the

       following in formulating its pay practices: (a) case law; (b) the FLSA, 29 U.S.C. § 201, et

       seq.; (c) Department of Labor Wage & Hour Opinion Letters; or (d) the Code of Federal

       Regulations.

7. Jury Demand.

   7.1. Plaintiff demands a trial by jury herein.

8. Relief Sought.

   8.1. WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that he recover from

       Defendant, the following:

       8.1.1. Overtime compensation for all unpaid hours worked in excess of forty hours in any

            workweek at the rate of one-and-one-half times his regular rate;

       8.1.2. All unpaid wages and overtime compensation;

       8.1.3. An award of liquidated damages as a result of the Defendant’s failure to pay wages and

            overtime compensation pursuant to 29 U.S.C § 216;

       8.1.4. Reasonable attorney’s fees, expert fees, costs, and expenses of this action as provided

            by the FLSA;

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  8.1.5. Pre-judgment and post-judgment interest at the highest rates allowed by law; and

  8.1.6. Such other relief as to which Plaintiff may be entitled.


                                     Respectfully submitted,

                                     By:      /s/ Chris R. Miltenberger___
                                             Chris R. Miltenberger
                                             Texas Bar Number: 14171200

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